                   Case 1:25-cv-01309-BMC                            Document 15                     Filed 04/01/25             Page 1 of 1 PageID #: 99
.,..;,J::.!) .USM-285 is a 5-part form. Fill out the form and prinfs··copies. Sign as needed and route as specified below.

            U.S. Department of Justice                                                            PROCESS RECEIPT AND RETURN
i, "--.     United States Marshals Service                                                        See "Instructions for Service of Process by U.S. Marshal"

             PLAINTIFF                                                                                                          COURT CASE NUMBER
             Doran Anthony Satchel                                                                                             I :25-cv-1309
             DEFENDANT                                                                                                          TYPE OF PROCESS
             Rene Alexis Kizzi Satchel                                                                                          o,s,c
                                NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE O~ CONDEMN
                                                                                                                                                                        1

                 SERVE          Rene Alexis Kizzi Satchel                                                                                                                   '



                      AT {      ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)                                                                        11



                                420 MacDonough St., Brooklyn NY 11233
             SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                             Number of process to be
                                                                                                                            served with this Form 285
                           i                                                                                                Number of parties to be
                                                                                                                            served in this case

                                                                                                                            Check for service
                           L                                                                                                on U.S.A.

                 SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business qndA/ternate Addrem:s
                 All Telephone Numbers, and Estimated Times Available for Service):
          Fold                                                                                                                                                                         Fold

          -Retrieve passports of subject children, S.S. and A.S. and deliver them to the
            Clerk of the Court for safekeeping.


             Signature of Attorney other Originator requesting service on behalf of:              l&J PLAINTIFF          TELEPHONE NUMBER                    DATE

                                                                                                  0 DEFENDANT            (718) 613-2610                      1/23/25
                  SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NO WRITE BELOW THIS LINE
             I acknowledge receipt for the total   Total Process   District of      District to                                                                          Date
             number of process indicated.
             (Sign only for USM 285 ifmore
             than one USM 285 is submitted)
                                                                   Origin

                                                                    No. /)
                                                                                    Serve

                                                                             l5 No. J2..B                                                                               .]!dzs
             I hereby certify and return that I  have personally served , D have legal evidence of service, D h e execute as shown in "Remarks", the process described
             on the individual, company, corporation, etc., at the address shown above on the on the individual, co pany, corporation, etc. shown at the address inserted below.

             D I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
             Name and title of individual served (ifnot shown abo1•e)                                                             □ A person of suitable age and discretion
                                                                                                                                    then residing in defendant's usual place
                                                                                                                                    ofabode .
             Address (complete only different than shown above)                                                                    Date                  Time
                                                                                                                                                                                     riam
                                                                                                                                  '1 /l 1'2. '"::>       ~=~b                        Opm

                                                                                                                                  ~.Mars~iti~

             Service Fee         Total Mileage Charges Forwarding Fee            Total Charges        Advance Deposits     Amount owed to U.S. Marshal• or
                                 including endeavors)                                                                      (Amount of Refund*)

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                 PRINT 5 COPIES:    I. CLERK OF THE COURT                                                                                       PRIOR EDITIQNS MAY BE USED
                                    2. USMS RECORD
                                    3. NOTICE OF SERVICE
                                    4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment.                                                                      Form USM-285
                                       if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                                       Rev. 12/15/80
                                    5. ACKNOWLEDGMENT OF RECEIPT                                                                                                                Automated OI/00
